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                                                                                   IDAHO TRANSPORTATION
                                                                                                 DEPARTMENT
                                                                             P.O. Box 7129 • Boise, ID 83707-1129
                                                                                    (208) 584-4343 • itd.idaho.gov

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                                                MOTOR VEHICLE RECORD
Date: Apr 24, 2025

Kimbell Gourley
225 N 9TH ST
BOISE, ID 83702

RE: Motor Vehicle Record Request

This is the motor vehicle record you requested. If you need further information, please contact the Idaho Transportation
Department, Motor Vehicle Records desk, at (208) 334-8663 or DMVHelp@itd.idaho.gov.

Owner Information
 OWNER                                             ADDRESS
 ALLEN, JASON HENRY                                2600A E SELTICE WAY STE 235
                                                   POST FALLS, ID 83854-7941

Title Information
 TITLE NUMBER                         TITLE STATUS        ISSUE DATE       PRINTED DATE            RECORDED DATE
 240699006                            Issued              Oct 31, 2024                             Oct 31, 2024
 PRIMARY LIENHOLDER NAME                                  ADDRESS
 IDAHO CENTRAL CREDIT UNION                               PO BOX 2469
 OTHER LIENHOLDERS                    NO                  POCATELLO, ID 83206-2469

Vehicle Information
 VIN 1                                  VIN 2                                    VIN 3
 7SVAAABA8PX011784
 YEAR               MAKE                MODEL              BODY                  COLOR               BRAND
 2023               TOYOTA              SEQUOIA            Carry-All/SUV         SILVER
                                                                                 ODOMETER
 WEIGHT              LENGTH             WIDTH              ODOMETER              STATUS              ODOMETER DATE
 6030                                                      21270                 Actual              Oct 18, 2024
 RELEASE OF LIABILITY                   No

Section 49-203 Idaho Code prohibits the release of personal information contained in driver and vehicle records to
unauthorized parties, without express written consent of the individual the information pertains to. As an authorized
requester, you may receive this information, but you may not release or resell it.
